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 Counsel for The Dugaboy Investment Trust




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


 In re                         §
                               §                              Case No. 23-31037-swe7
 HIGHLAND SELECT EQUITY MASTER §
 FUND, L.P.                    §                              (Chapter 7)
                               §
      Debtor.                  §


 APPENDIX IN SUPPORT OF CREDITOR THE DUGABOY INVESTMENT TRUST’S
     OBJECTION TO DEBTOR’S MOTION TO TRANSFER/REASSIGN CASE

         The Dugaboy Investment Trust files this Appendix in Support of Creditor Dugaboy

Investment Trust’s Objection to Debtor’s Motion to Transfer/Reassign Case and requests the Court

take judicial notice of the documents contained herein.




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 Exhibit                                       Document                               Appendix
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     1       James Dondero, Highland Capital Management Fund Advisors, L.P.,
             NexPoint Advisors, L.P., The Dugaboy Investment Trust, The Get Good
             Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners,     App. 001 -
             LLC, a Delaware Limited Liability Company’s Motion to Recuse            App. 005
             Pursuant to 28, U.S.C. § 455, Dkt. 2060 in Case No. 19-34054-sgj11,
             dated March 18, 2021
     2       James Dondero, Highland Capital Management Fund Advisors, L.P.,
             NexPoint Advisors, L.P., The Dugaboy Investment Trust, Get Good
             Trust, and NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners,
                                                                                     App. 006 -
             LLC, a Delaware Limited Liability Company’s Amended Motion for
                                                                                     App. 014
             Final Appealable Order and Supplement to Motion to Recuse Pursuant
             to 28 U.S.C. §455 and Brief in Support, Dkt. 3470 in Case No. 19-
             34054-sgj11, dated August 26, 2022
     3       Amended Renewed Motion to Recuse Pursuant to 28 U.S.C. §455, Dkt.       App. 015 -
             3570 in Case No. 19-34054-sgj11, dated October 17, 2022                 App. 017
     4       Movants’ Supplemental Memorandum of Law in Support of Amended
                                                                                     App. 018 -
             Renewed Motion to Recuse Pursuant to 28 U.S.C. §455, Dkt. 3673 in
                                                                                     App. 023
             Case No. 19-34054-sgj11, dated March 2, 2023
     5                                                                               App. 024 -
             Opinion Letter of Professor Steve Leben dated July 6, 2023
                                                                                     App. 058
     6       Order Authorizing the Filing of a Lawsuit by Dugaboy Investment Trust
                                                                                     App. 059 -
             in New York, Dkt. 3373 in Case No. 19-34054-sgj11, dated June 22,
                                                                                     App. 061
             2022
     7                                                                               App. 062 -
             PACER Docket for Case No. 1:23-cv-01636-MKV
                                                                                     App. 066
     8       Suggestion of Bankruptcy, Dkt. 16 in Case No. 1:23-cv-01636-MKV,        App. 067 -
             dated June 5, 2023                                                      App. 073
     9       January 9, 2020 Hearing Transcript (excerpted) in Case No. 19-34054-    App. 074 -
             sgj11                                                                   App. 078
    10       PACER confirmation of Judge assigned to the Acis Bankruptcy (Case       App. 079 -
             No. 18-30265-SGJ-11)                                                    App. 080
    11       Bench Ruling and Memorandum of Law in Support of: (A) Final             App. 081 -
             Approval of Disclosure Statement; and (B) Confirmation of Chapter 11    App. 128
             Trustee’s Third Amended Joint Plan, Dkt. 827 in Case No. 18-30265-
             SGJ-11, dated January 31, 2019
    12       Order Denying Motion to Recuse, Pursuant to 28 U.S.C. §455, Dkt.        App. 129 -
             2083 in Case No. 19-34054-sgj11, dated March 23, 2021                   App. 140



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    13       Order Denying Amended Motion of James Dondero, Highland Capital       App. 141 -
             Management Fund Advisors, L.P., NexPoint Advisors, L.P., The          App. 144
             Dugaboy Investment Trust, Get Good Trust, and NexPoint Real Estate
             Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware Limited Liability
             Company’s for Final Appealable Order and Supplement to Motion to
             Recuse Pursuant to 28 U.S.C. §455 and Brief in Support, Dkt. 3479 in
             Case No. 19-34054-sgj11, dated September 1, 2022
    14       Movants’ Amended Memorandum of Law in Support of Amended                  App. 145 -
             Renewed Motion to Recuse Pursuant to 28 U.S.C. §455, Dkt. 3571 in         App. 174
             Case No. 19-34054-sgj11, dated October 17, 2022
    15       Memorandum Opinion and Order Denying “Amended Renewed Motion              App. 175 -
             to Recuse Pursuant to 28 U.S.C. §455,” Dkt. 3676 in Case No. 19-          App. 211
             34054-sgj11, dated March 6, 2023


Dated: July 10, 2023.                                   Respectfully submitted,

                                                        /s/ Deborah Deitsch-Perez
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                                     CERTIFICATE OF SERVICE


         I certify that on July 10, 2023, a true and correct copy of the foregoing document was

served via the Court’s Electronic Case Filing system to the parties that are registered or otherwise

entitled to receive electronic notices in this proceeding.

                                                        /s/ Deborah Deitsch-Perez
                                                        Deborah Deitsch-Perez




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